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                                      NO. 05-70051
                     TN TIC UNITED STATES COURY OF APPEALS
                              FOR THE FIFTH CIRCUIT


                                       TONY ROACH,
                                         Applicant,
                                                                        UP S. COURT OF APPEALS
                                             vs.                            FILE
                              DOUG DRETKE, Director of the                 JUN 3 0 2006
                            Texas Department of Criminal Justice,     CHARLES R , FULBRUGE III
                                    Institutional Division,                             CLERK
                                         Respondent.


              APPLICATION FOR CERTIFICATE OF APPEALABILITY


        Appeal from the United States District Court for the Northern District of Texas,
            Amarillo Division; the Honorable Mary Lou Robinson, Judge Presiding


                                            Respectfully submitted,


                                            JOE MARR WILSON
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                                            State Bar No . 21697700

                                            COUNSEL FOR APPLICANT
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                                        NO. os -70051

                       IN THE UNITED STATES-COURT OF APPEALS
                                FOR THE FIFTH CIRCUIT


                                         TONY ROACH,
                                           Applicant,

                                               VS.

                                DOUG DRETKE, Director of the
                              Texas Department of Criminal Justice,
                                      Institutional Division,
                                           Respondent.



                APPLICATION FOR CERTIFICATE OF APPEALABILITY


TO THE HONORABLE FIFTH CIRCUIT COURT OF APPEALS :

       COMES NOW Applicant, TONY ROACH, by and through his attorney of record and files

this Application for Certificate of Appealability pursuant to 28 U .S.C. § 2253 and Fed . R. App. R.

22(b), and in support thereof shows the Court the following:

                                       Procedural History

        1 . Applicant was indicted on August 26,1998, for capital murder of the death of Ronnie

Dawn Hewitt on June 8, 1998. His evidentiary trial started on May 11, 1999 . A verdict of guilty

was returned on May 14,1999. The punishment phase of the trial began on May 17,1999 . On May

20, 1999, the jury answered the special issues in a manner mandating death and Petitioner was

sentenced in open court. Applicant's conviction and sentence was affirmed on direct appeal by the

Texas Court of Criminal Appeals on No vember 7, 2001 . Roach v. State, No. 73, 529 (Tex. Crim.


                                                 2
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App. 2001) . Applicant's state habeas application was deniedd by the Texas Court of Criminal

Appeals on January 9 , 2002. Ex Parte Roach, No. 49,658-01 (Tex. Crim . App. 2002).

       2 . Applicant filed his federal petition for writ of habeas corpus on July 19, 2002 .

Respondent filed an answer on November 4, 2002, along with the state court records .

        3. The District Court denied Applicant's requests for relief by virtue of written order

dated September 27, 2005, which overruled Applicant's Objections to the Report and

Recommendations of the Magistrate Judge . Notice of Appeal was filed on Applicant's behalf on

October 27, 2005 ; however, the District Court declined to grant a Certificate of Appealability .

Applicant has requested an extension of time to apply to this Court for a Certificate of Appealability .

                                 Issues Presented and Ruled Upon

        6. Applicant essentially presented eleven grounds for relief to the District Court which

could be roughly described as (1) claims attacking execution (Grounds 1, 2 and 3), (2) appellate

review claims (Ground 4), (3) sentencing procedure claims (Grounds 5, 8 and 9), (4) establishment

clause claims (Ground 6), (5) cruel and unusual punishment claims (Ground 7), (6) denial of right

to testify (10) and attorney conflict of interest claim (Ground 11) . In Applicant's objections to the

report and recommendation of the Magistrate Judge, Applicant preserved the potential for appeal as

to all of these claims except Ground 7 .

                              Request far Certificate ofAppealability

        8. Applicant submits that he has made a substantial showing (as is further outlined in

his Brief in Support of Application for Certificate of Appealability) of the denial of a constitutional

rights with regard to all of the preserved claims. See 28 U.S.C. § 2253 (c) (2). Applicant's requested

appeal presents a question of some substance either that is debatable among jurists of reason, that
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a court could resolve in a different manner, or that is adequate to deserve encouragement to proceed

further.

                                                 Conclusion

           Applicant respectfully requests this Court to grant him a certificate of appealability as to the

issues set forth above .



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                                                   State Bar No . 21697700

                                                   COUNSEL FOR APPLICANT

                                     CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing instrument has

been forwarded to opposing counsel :

           Attorney General of Texas
           Capital Litigation Division
           P.O. Box 12548
           Capitol Station
           Austin, TX 78711

           SIGNED this 28 1 day of June,
